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                 EXHIBIT B-121
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                                       IN THE SUPERIOR COURTOF FULTONCOUNTI
                                                  STATEOF GEORGIA


IN·iIB 2 MAY2022 SPECIALPURPOSE
GRANDJURY                                                      2022-EX-000024



                                             ORDER SEALING PLEADING

               The attached pleading, a response to the District Attorney's motion to disqualify

counsel, is being filed under seal. Concomitantly with this sealed filing, the Court is filing

an unsealed redacted version of the same pleading. The Court has reviewed the attached
                           \
pleacli,ngand assessed the proposed (and accepted) redactions; it now finds that the
           \           '           .                                  ..
District ·Attorney's compelling interest in protecting the ongoing investigation into

possible criminal electoral interference is sufficient to justify sealing the unredacted

motion."-See-tTnitedStates v. Valenti, 987 F.2d 70,714 (11th Cir. 1993); In re Four Search

Warr.ants, 945 F. Supp. 1563 (N.J?. Ga. 1996). The Court additionally finds that the

redacted portions· of the response -- containing sensitive, non-public investigative

info:rniaticm·-~ "are not subject to disclosure under [Uniform Superior Court Rule] 21

•because they do not fall within that which USCR 21 embodies: they are not court records

to.·:which the public and p~ess in Georgia have traditionally enjoyed access." In re
               .               .


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Gwinn~tt Cnty.:Grand Jury, 284 Ga. 510, 512 (2008).
                                                 '],

           : i Sb o·RDEREDthis 10th day of November




                                                           Judge R'6bert C.I. McBurney
                                                           Superior Court of Fulton County
                                                           Atlanta Judicial Circuit
